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                                                  ORDERED.


         Dated: June 18, 2018




                                 UNITED STATES BANKRUPTCY COURT
                                    MIDDLE DISTRICT OF FLORIDA
                                          TAMPA DIVISION
                                         www.flmb.uscourts.gov

In re:                                                             Case No. 8:17-bk-09158-MGW
                                                                   Chapter 13
MARIAMMA P. BRAXTON

Debtor(s) 1
                                       /

                         ORDER GRANTING DEBTOR’S MOTION FOR
                    RECONSIDERATION OF ORDER DISMISSING CHAPTER
                 13 CASE (DOC. NO. 37) AND RESCHEDULING CONFIRMATION
                HEARING AND HEARING ON OBJECTIONS TO CONFIRMATION

           THIS CASE came on for a hearing on June 11, 2018 upon the Debtor’s Motion for

Reconsideration of Order Dismissing Chapter 13 Case (Doc. No. 37). The Court, having heard

argument of counsel and having reviewed the record, is satisfied that it is appropriate to reinstate

this Chapter 13 Case. Accordingly, it is

           ORDERED:

           1.        The Debtor’s Motion for Reconsideration of Order Dismissing Chapter 13 Case

(Doc. No. 37) is hereby GRANTED.




1
    All reference to “Debtor” shall include and refer to both of the Debtors in a case filed jointly by two individuals.
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       2.      The Order Dismissing Granting Motion to Dismiss Chapter 13 Case (Doc. No.

35) entered on April 6, 2018, is hereby VACATED and the case is reinstated as an active

Chapter 13 case.

       3.      In the event payments to the Trustee hereafter become delinquent, the Trustee

may file a Notice of Default, giving the Debtor(s) fourteen (14) days to cure the delinquency in

plan payments. If the Debtor(s) fail to become current with their plan payments within fourteen

(14) days of the Notice of Default, the Trustee may, without further notice to the Debtor(s),

submit an Order dismissing the above-styled Chapter 13 case.

       4.      The Confirmation Hearing and Hearing on Objections to Confirmation is hereby

rescheduled to October 15, 2018 at 1:35 p.m., before the Honorable Michael G. Williamson,

United States Bankruptcy Judge, at Sam M. Gibbons United States Courthouse, 801 North

Florida Avenue, Courtroom 8A, Tampa, Florida.




Debtor’s Counsel, James W. Elliott, Esquire, is directed to serve a copy of this Order on
interested parties and file a proof of service within three (3) days of entry of the Order.
KR/CCP/ra                                                                      C13T 06/18/18




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